               Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 1 of 17



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                                                                           The Honorable Robert J. Bryan
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7                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
8                                     TACOMA DIVISION

9      BELGAU, et al.,
                                                         Case No. 3:18-cv-05620-RJB
10                             Plaintiffs,

11       v.                                              JOINT STATUS REPORT and
                                                         DISCOVERY PLAN
12     INSLEE, et al.,

13                             Defendants.

14

15            Plaintiffs and Defendants jointly submit this Joint Status Report and Discovery Plan,

16 pursuant to the Court’s Order Regarding Initial Disclosures, Joint Status Report, and Early

17 Settlement, dated August 14, 2018 (Dkt. 20), Fed. R. Civ. P. 26, and Local Civil Rule 26.

18      1. Nature and Complexity of the Case.

19            A. Plaintiffs’ Brief Statement of the Case:

20                   This class action case seeks to enforce the United States Supreme Court’s

21            decision in Janus v. AFSCME, Council 31, 138 S. Ct. 2448 (2018), which acknowledged

22            the “abuse” public employees have suffered under Abood v. Detroit Board of Education,

23            431 U.S. 209 (1977) at the hands of union executives and public employers who for

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                         1
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 2 of 17



1           decades illegally confiscated billions of dollars from the wages of public employees in

2           violation of the First Amendment. To end the abuses, the U.S. Supreme Court

3           acknowledged that the First Amendment guarantees to every public employee the right to

4           refrain from financially supporting a union and secures this right by requiring that an

5           “agency fee” or “any other payment” to a union be preceded by consent which constitutes

6           clear and compelling evidence that employees waived that First Amendment right. 138 S.

7           Ct. at 2486.

8                   Plaintiffs are Washington State Public employees who were union nonmembers

9           upon hire and, as such, possessed the right guaranteed by the First Amendment to refrain

10          from financially supporting a union. At the time union nonmembers such as Plaintiffs

11          allegedly consent to union payments, those “nonmembers are waiving their First

12          Amendment rights, and such a waiver cannot be presumed.” Id. at 2486. The Supreme

13          Court in Janus stated that “clear and compelling evidence” must be shown by parties

14          seeking to overcome the presumption against constitutional waivers. Id. Thus the relevant

15          legal issues in this case are twofold. First, what constitutes clear and compelling evidence

16          of consent which amounts to a constitutional waiver? Second, have Defendants offered

17          clear and compelling evidence that Plaintiffs’ consent to union dues deductions amounted

18          to a waiver of their constitutional rights? Janus and the well-established case law cited in

19          Janus by the Supreme Court show that “clear and compelling evidence” of the necessary

20          consent requires that a constitutional waiver to be freely given and knowing. Defendants

21          denied Plaintiffs such a waiver.

22                  Any argument that the First Amendment protections articulated in Janus do not

23          apply to newly-hired nonunion public employees, such as Plaintiffs, who allegedly

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                        2
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 3 of 17



1           consent to union payments by signing union cards purporting to authorize such payments

2           even over employee objections presumes such employees waived their constitutional

3           right to refrain from making such payments. This violates Janus.

4                   The relevant facts in this case are undisputed. Defendants cannot, as a matter of

5           law, offer clear and compelling evidence that Plaintiffs’ consent amounts to a freely

6           given and knowing constitutional waiver. Plaintiffs will seek summary judgment to

7           resolve this case in their favor.

8           B. Defendants’ Brief Statement of the Case:

9                   Plaintiffs are seven state employees in bargaining units that are represented for

10          purposes of collective bargaining by Defendant Washington Federation of State

11          Employees, AFSCME Council 28 (“WFSE” or the “Union”). They each affirmatively

12          exercised their First Amendment right to join their Union by voluntarily signing WFSE

13          membership cards. The membership cards each Plaintiff signed contained an agreement

14          in which the Plaintiffs contractually committed to paying the amount of union dues for

15          one year, regardless of whether they later decided to resign from union membership prior

16          to the expiration of that one-year period. In exchange, they each became members of the

17          Union, with the right to participate in internal union affairs and access to members-only

18          benefits made available by the Union.

19                  On June 27, 2018, the Supreme Court decided Janus v. AFSCME, Council 31, 138

20          S. Ct. 2448 (2018), a case involving required fair-share fees paid by public employees

21          who, unlike Plaintiffs, were not union members, did not voluntarily choose to join the

22          union that represented them, and did not expressly and affirmatively authorize the

23          payments. After Janus, each Plaintiff here resigned from membership in the Union.

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                        3
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 4 of 17



1           They then filed this lawsuit seeking to renege on their written contractual commitments

2           to pay WFSE the remaining funds that they previously had agreed to pay.

3                   This Court has already denied Plaintiffs’ Motion for a Temporary Restraining

4           Order (Dkt. 11) and subsequent Motion for a Preliminary Injunction (Dkt. 37). In the

5           Court’s recent order denying Plaintiffs’ Motion for a Preliminary Injunction, the Court

6           concluded, among other things, that Plaintiffs “failed to demonstrate a likelihood of

7           success on the merits or that there are serious questions going to the merits.” (Dkt. 37 at

8           2, 8.) The Court reasoned that:

9                   Here, unlike in Janus, the Plaintiffs entered into a contract with the Union
                    to be Union members and agreed in that contract to pay Union dues for
10                  one year. “[T]he First Amendment does not confer . . . a constitutional
                    right to disregard promises that would otherwise be enforced under state
11                  law.” Cohen v. Cowles Media Co., 501 U.S. 663, 672 (1991). A person
                    has the right to contract away their First Amendment protections. See Fisk
12                  v. Inslee, 2017 WL 4619223 (W.D. Wash. Oct. 16, 2017). Plaintiffs’
                    assertions that they didn’t knowingly give up their First Amendment rights
13                  before Janus rings hollow. Janus says nothing about people [who] join a
                    Union, agree to pay dues, and then later change their mind about paying
14                  union dues. … Janus does not apply to Plaintiffs’ situation, as explained
                    above. Plaintiffs’ arguments to the contrary are unpersuasive.
15
            Id. at 8-9. The relevant material facts are undisputed. Plaintiffs’ attempts to avoid their
16
            contractual commitments are meritless as a matter of law. Defendants intend to seek
17
            summary judgment to resolve this case.
18
        2. A Proposed Deadline for Joining of Additional Parties. The parties agree that the
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            deadline for joining additional parties should be January 11, 2019. The parties further
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            agree that if the Court denies class certification, Plaintiffs may add additional individual
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            plaintiffs within twenty-one (21) days following the Court’s order denying class
22
            certification.
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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                         4
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 5 of 17



1       3. Consent to Assignment of Case to Magistrate Judge.

2           No.

3       4. Discovery Plan.

4           The parties believe they may be able to avoid the need for discovery by agreeing to

5           stipulated facts to serve as the basis for cross-motions for summary judgment or partial

6           summary judgment. The parties are currently negotiating regarding those stipulated

7           facts. If the parties reach agreement on stipulated facts by November 30, 2018, they

8           intend to inform the Court and propose a briefing schedule for cross-motions for

9           summary judgment or partial summary judgment. The Discovery Plan below reflects the

10          parties’ agreements regarding discovery if they do not reach agreement on stipulated facts

11          by November 30, 2018.

12          A. Rule 26(a) Initial Disclosures: The parties agree that, if discovery is necessary, the

13                deadline for Rule 26(a) Initial Disclosures should be December 14, 2018. The Court

14                has already extended this deadline to December 14, 2018 to provide time for the

15                parties to negotiate a set of stipulated facts for cross-motions for summary judgment

16                or partial summary judgment. (Dkt. 39.) If the parties do not reach agreement on

17                stipulated facts, the parties agree that December 14, 2018 should remain the deadline

18                for Rule 26(a) Initial Disclosures. If the parties do reach agreement on stipulated

19                facts, they will inform the Court and request that the Initial Disclosures deadline be

20                vacated.

21          B. Discovery Subjects, Timing, and Potential Phasing: The principal topics for

22                discovery, if necessary, include evidence related to Plaintiffs’ allegations, claims,

23                request for class certification, and the nature and amount of damages to which

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                           5
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 6 of 17



1               plaintiffs allege they and putative class members, if a class is certified, will be entitled

2               if they are able to establish liability.

3                   If the parties reach agreement on stipulated facts for cross-motions for summary

4               judgment or partial summary judgment, discovery will not be necessary until after

5               those cross-motions are resolved. If Defendants’ anticipated motion for summary

6               judgment is granted, the case will be resolved.1 If Plaintiffs’ anticipated motion for

7               partial summary judgment is granted, discovery necessary for the resolution of the

8               remaining issues in the action including, but not limited to, class certification, and the

9               remaining, if any, merits issues such as damages, will be necessary.2 The parties will

10              meet and confer if such discovery becomes necessary after the Court resolves the

11              cross-motions for summary judgment or partial summary judgment, and will propose

12              relevant deadlines at that time.

13                  If the parties do not reach agreement on stipulated facts by November 30, 2018,

14              they will proceed with discovery on all issues, without phasing, and agree that the

15              deadline for the close of discovery should be set as April 30, 2019. The parties

16              reserve the right to request an extension of that deadline should the circumstances

17              warrant it.

18          C. Electronically Stored Information: If discovery becomes necessary either because

19              the parties do not reach agreement on stipulated facts or after the Court resolves the

20              cross-motions for summary judgment or partial summary judgment, the parties will

21
     1
22    The parties reserve all rights of appeal. Plaintiffs specifically reserve the right to an appeal of
     any such decision and the right to seek class certification if an appeal is successful.
     2
23   Plaintiffs reserve the right to file an early class certification motion prior to the close of such
   discovery if and after their motion for summary judgment or motion for partial summary
24 judgment is granted.

     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                           6
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 7 of 17



1               meet and confer with the intention to agree to an ESI protocol based on the Court’s

2               Model Protocol for Discovery of ESI and will meet and confer and attempt in good

3               faith to reach agreement regarding any procedures and processes related to the

4               production of electronically stored information which are not in accord with the

5               Model Protocol for Discovery of ESI.

6           D. Privilege Issues: If discovery becomes necessary, the parties will meet and confer

7               with the intention to agree to a protective order based on the Court’s Model Stipulated

8               Protective Order, which includes provisions related to privilege issues governed by

9               Federal Rule of Evidence 502, and will meet and confer and attempt in good faith to

10              reach agreement regarding any procedures and processes related to privilege issues

11              which are not in accord with the Model Stipulated Protective Order.

12          E. Proposed Limitations on Discovery: The parties believe the default discovery limits

13              under the Federal Rules of Civil Procedure should not be altered at this time. This

14              statement is without prejudice to the right of any party to seek relief from those

15              limitations should future circumstances warrant.

16          F. Discovery Orders: If discovery becomes necessary, the parties intend to meet and

17              confer regarding agreement to an ESI protocol and Protective Order based on the

18              Court’s model protocol and protective order, as discussed above.

19      5. Case Management Topics Under LCR 26(f)(1).

20          A. Prompt Case Resolution: As discussed above, the parties believe they may be able

21              to avoid the need for discovery by agreeing to stipulated facts to serve as the basis for

22              cross-motions for summary judgment or partial summary judgment. The parties are

23              currently negotiating regarding those stipulated facts. If the parties reach agreement

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                         7
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 8 of 17



1               on stipulated facts, they intend to inform the Court and propose a briefing schedule

2               for cross-motions for summary judgment or partial summary judgment.

3                   If Defendants’ anticipated motion for summary judgment is granted, the case will

4               be resolved. If Plaintiffs’ anticipated motion for partial summary judgment is

5               granted, discovery necessary for the resolution of the remaining issues in the action

6               including, but not limited to, class certification, and the remaining, if any, merits

7               issues such as alleged damages, will proceed.

8                   If the parties do not reach agreement on stipulated facts by November 30, 2018,

9               they will proceed to discovery. In that circumstance, the parties might file early

10              dispositive motions, as well as early motions related to class certification. The parties

11              reserve all available arguments that any early motion from the opposing party filed

12              before discovery is completed is improper and should be denied. The parties agree to

13              meet and confer by telephone or email before they file any class certification or

14              dispositive motion to attempt in good faith to agree upon a briefing schedule for any

15              such motion before it is filed and to allow the opposing parties a reasonable amount

16              of time to discuss these matters before any such motions are filed.

17          B. Alternative Dispute Resolution: The parties do not currently believe that alternative

18              dispute resolution would be fruitful.

19          C. Related Cases: The parties know of no related cases as defined in Local Civil Rule

20              3(g).

21          D. Discovery Management: The parties see no need for a special master, Magistrate

22              Judge, or other discovery management mechanism to facilitate discovery in this case

23              at this time.

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                         8
              Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 9 of 17



1           E. Anticipated Discovery Sought: See the discussion of the subjects, timing, and

2               potential phasing of discovery in section 4.B above.

3           F. Phasing Motions:

4                   Cross-motions for summary judgment or partial summary judgment: As

5               discussed above, the parties are currently negotiating regarding stipulated facts that

6               would serve as the basis for cross-motions for summary judgment or partial summary

7               judgment. If the parties reach agreement on stipulated facts by November 30, 2018,

8               they intend to inform the Court and propose a briefing schedule for those cross-

9               motions.

10                  Class certification motions. If Defendants’ anticipated motion for summary

11              judgment is granted, the case will be resolved. If Plaintiffs’ anticipated motion for

12              partial summary judgment is granted, discovery necessary for the resolution of the

13              remaining issues in the action including, but not limited to, class certification, and the

14              remaining, if any, merits issues such as alleged damages, will occur, followed by

15              resolution of class certification motions and then any remaining motions for summary

16              judgment.

17                  The Court’s resolution of the legal issues that the parties expect would be

18              presented in cross-motions for summary judgment or partial summary judgment could

19              have a significant impact on plaintiffs’ request for a class action. If the parties reach

20              an agreement on stipulated facts on which to base cross-motions for summary

21              judgment or partial summary judgment, the parties will request that the Court extend

22              the current deadline for class certification motions set forth in Local Civil Rule

23              23(i)(3) to one hundred (100) days following the ruling on the parties’ cross-motions,

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                         9
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 10 of 17



1               if any class certification motions are necessary following that ruling. If the parties do

2               not reach an agreement on stipulated facts by November 30, 2018, the parties will

3               request that the Court extend the current deadline for class certification motions to

4               thirty (30) days after the close of discovery.

5                   Dispositive motions deadline. If the parties cannot agree to stipulated facts, the

6               parties believe the deadline for dispositive motions should be the later of either thirty

7               (30) days after the close of discovery or thirty (30) days after any class certification

8               motions are resolved.

9           G. Preservation of Discoverable Information: The parties intend to comply with all

10              requirements regarding preservation of discoverable information. Counsel have

11              advised their clients of the requirements concerning preservation of discoverable

12              information.

13          H. Privilege Issues: As discussed in section 4.D. above, if discovery becomes necessary

14              either because the parties do not reach agreement on stipulated facts or after the Court

15              resolves the cross-motions for summary judgment or partial summary judgment, the

16              parties will meet and confer with the intention to agree to a protective order based on

17              the Court’s Model Stipulated Protective Order, which includes provisions related to

18              privilege issues governed by Federal Rule of Evidence 502, and will meet and confer

19              and attempt in good faith to reach agreement regarding any procedures and processes

20              related to privilege issues which are not in accord with the Model Stipulated

21              Protective Order.

22          I. Model Protocol for Discovery of Electronically Stored Information (“ESI”): As

23              discussed in section 4.C above, if discovery becomes necessary, the parties will meet

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                         10
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 11 of 17



1               and confer with the intention to agree to an ESI protocol based on the Court’s Model

2               Protocol for Discovery of ESI and will meet and confer and attempt in good faith to

3               reach agreement regarding any procedures and processes related to the production of

4               electronically stored information which are not in accord with the Model Protocol for

5               Discovery of ESI.

6           J. Alternative to Model ESI Protocol: As discussed above, if discovery becomes

7               necessary, the parties will meet and confer and attempt in good faith to reach

8               agreement regarding any procedures and processes related to the production of

9               electronically stored information which are not in accord with the Model Protocol for

10              Discovery of ESI.

11      6. Discovery Completion Date.

12           If the parties agree to a set of stipulated facts, discovery will be unnecessary until after

13          the Court resolves the parties’ anticipated cross-motions for summary judgment or partial

14          summary judgment. After the Court resolves those anticipated cross-motions, the parties

15          will meet and confer to determine if class-related and damages-related discovery is

16          necessary and will propose relevant deadlines, if any, at that time.

17              If the parties do not reach agreement on stipulated facts by November 30, 2018, the

18          parties propose that April 30, 2019 be set as the deadline for the close of discovery. The

19          parties reserve the right to request an extension of that deadline should the circumstances

20          warrant it.

21      7. Case Bifurcation.

22          The parties do not believe that any trial in this case should be bifurcated between liability

23          and damages or in any other way. If this case is not resolved through dispositive

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                          11
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 12 of 17



1           motions, any trial evidence regarding the determination of potential damages would not

2           be complex.

3       8. Pretrial Statements and Order.

4           The parties believe that, if trial is necessary, the pretrial statements and pretrial order

5           called for by the Local Civil Rules will be necessary and appropriate and should not be

6           dispensed with.

7       9. Any other suggestions for shortening or simplifying the case.

8           The parties do not have other suggestions for shortening or simplifying the case, beyond

9           those discussed above regarding seeking to agree to stipulated facts on which to base

10          cross-motions for summary judgment or partial summary judgment.

11      10. The date the case will be ready for trial.

12          As discussed above, if the parties cannot agree to stipulated facts, the parties believe the

13          deadline for discovery should be April 30, 2019, the deadline for class certification

14          motions should be thirty (30) days following the close of discovery, and the deadline for

15          dispositive motions should be the later of either thirty (30) days after the close of

16          discovery or thirty (30) days after any class certification motions are resolved. The

17          parties anticipate that the case will be ready for trial within twelve (12) months of the

18          filing of this Joint Status Report, but believe that a trial should not be scheduled until

19          dispositive motions and class certification motions, if any, are resolved by the Court.

20          Following the resolution of such motions, if a trial is necessary, the parties will meet and

21          confer and file a joint report proposing trial-related dates.

22      11. Jury or Non-July Trial.

23          No party has demanded a jury trial.

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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                          12
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 13 of 17



1       12. Trial Days.

2           If any trial is necessary, the number of trial days will be contingent upon whether this

3           Court grants class certification and how the Court rules on dispositive motions. The

4           parties will meet and confer on matters related to trial after this Court rules on dispositive

5           motions and class certification motions. If a trial is necessary, the parties will propose

6           dates related to a trial at that time.

7       13. Trial Counsel.

8           A. For Plaintiffs:

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                Caleb Jon Vandenbos, WSBA #50231
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14          B. For State Defendants Governor Jay Inslee, David Schumacher, John Wiesman,
               Cheryl Strange, Roger Millar, and Joel Sacks:
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                ROBERT W. FERGUSON,
16              ATTORNEY GENERAL

17              Alicia O. Young, WSBA #35553
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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                           13
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 14 of 17



1           C. For Defendant Washington Federation of State Employees, AFSCME Council
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12              cpitts@altshulerberzon.com
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13              kgarcia@altshulerberzon.com

14      14. Trial Counsel Problem Dates for a Trial Date.

15          If any trial is necessary, trial-related dates will be contingent upon whether this Court

16          grants class certification and how the Court rules on dispositive motions. The parties will

17          meet and confer on matters related to trial after this Court rules on dispositive motions

18          and class certification motions. If a trial is necessary, the parties will propose dates

19          related to a trial at that time.

20      15. Status of Defendants’ Service.

21          All Defendants have been served.

22      16. Scheduling Conference Desirability Prior to Issuance of Scheduling Order.

23          At this time, the parties do not see a need for a scheduling conference.

24

     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                         14
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 15 of 17



1       17. Corporate Disclosure Statement.

2           Defendant Washington Federation of State Employees, AFSCME Council 28 filed a

3           Corporate Disclosure Statement on October 31, 2018. (Dkt. 40.)

4           DATED this 13th day of November, 2018.

5                                       By:    /s/ James G. Abernathy
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9                                              Attorney for Plaintiffs

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12                                             /s/ Kelly M. Woodward
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18                                             Attorneys for State Defendants Jay Inslee, David
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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                     15
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 16 of 17



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2                                        /s/ Scott A. Kronland
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3                                        P. Casey Pitts, Pro Hac Vice
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9                                        Attorneys for Defendant Washington Federation of
                                         State Employees, AFSCME Council 28
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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620               16
             Case 3:18-cv-05620-RJB Document 41 Filed 11/13/18 Page 17 of 17



1                                    CERTIFICATE OF SERVICE

2           I hereby certify that on November 13, 2018, I electronically filed the foregoing with the
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
3    counsel/parties of record. I hereby certify that no other parties are to receive notice.

4
                                                  By: s/James G. Abernathy
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     JOINT STATUS REPORT &
     DISCOVERY PLAN
     CASE NO. 3:18-CV-5620                        17
